           Case 8:18-cv-00093-AG-DFM Document 1 Filed 01/18/18 Page 1 of 30 Page ID #:1



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              Plaintiff has a claim under 42 U:S.C. §1983~or violation ofthe ollowmg
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15    (You may listfacts supporting yoz~r claim. Be specific about how each Defendant violated this particular civil right.)'

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             As a result ofthe Defendant's violation ofthe above civil right, Plaintiff
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  Case 8:18-cv-00093-AG-DFM Document 1 Filed 01/18/18 Page 20 of 30 Page ID #:20

                             THREE DAY NOTICE TO PAY RENT
                               OR SURRENDER POSSESSION

              TO:

             Arthur Lopez, Cheryl Lopez
             DOE'S 1 thru 11
             2087 Loggia
             Newport Beach, CA 92660

             NOTICE IS HEREBY GIVEN that, pursuant to the agreement by which you hold
             possession ofthe premises known as:

                                    2087 Loggia
                                    Newport Beach,CA 92660



 there is now due and unpaid rent for said premises in the total sum of$2635, enumerated
     $2635 due for the period from May 1, 2015 Through May 31,2015.                      as follows:


$2635 TOTAL RENTS DUE *Payment of this amount is to be by CASHIER'S
                                                                    CHECK OR
MONEY ORDER ONLY

      WITHIN THREE(3)DAYS after service of this notice upon you, you are required
                                                                                         to pay the
sums demanded herein or deliver up possession of said premises to Newport Bluffs
                                                                                     Apartment
Homes, authorized agent of Irvine Company Apartment Communities,Inc., your landlord
                                                                                           or legal
proceedings will be commenced against you to declare said agreement forfeited, recover possessi
                                                                                                 on
of said premises, all rents due,damages, attorneys fees, court costs and statutory damages up
                                                                                              to
$600.00 for malice for the unlawful detention of said premises.

YOU ARE FURTHER NOTIFIED that your Landlord does hereby elect to declare a forfeiture of
                                                                                         the
agreement under which you hold possession ofthe premises described above.


Dated: 05/05/2015                                              Management office hours:
*Authorized Management Person to receive                       9 a.m. to 6 p.m. Monday through
payments: Brent Christianson and/or other                      Saturday(Tuedays unitl7pm)and
management staff personnel                                     12 p.m. to 6 p.m. Sunday
Place for payment:                                             Newport Bluffs Apartment Homes
100 Vilaggio                                                                                  ;~
Newport Beach, CA 92660                                                    -~                j
AuthorizediManagement persons telephone                                  (~ ~r, i,,    ,~,~
number:(949)467-2120.                                          By: Je       Gruwell      -~
                                                                  Assistant Manager


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                                 ~~           ~ ~y
                                              fir\
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                                  NOTICE TO PERFORM COVENANT
                          OR DELIVER POSSESSION OF PREMISES

TO: Arthur Lopez, Cheryl Lopez
"AND ALL RESIDENTS,SUBTENANTS AND OTHERS IN POSSESSION"

YOU ARE HEREBY NOTIFIED THAT IN that certain lease dated
11/19/2014 known as:

                                      2087 Loggia
                                      Newport Beach,CA 92660

You have covenanted to do, but have breached the following terms and conditions:

1. LATE CHARGE: Resideni acknowledges that late payment by Resident to Landlord ofrent will cause
Landlord to incur costs not contemplated by this Lease, the exact amount ofsuch costs being extremely
difficult and impracticable to fix. Such costs include, without limitation, processing and accounting
chazges and late charges that may be imposed on Landlord by the terms of any encumbrance and note
encumbrance covering the Premises. Therefore, if any installment of rent due from Resident is not
received by Landlord when due, Resident shall pay to Landlord an additional sum of$50 as late charge.
YOU ARE HEREBY FURTHER NOTIFIED that within THREE(3)DAYS after service ofthis notice on
you, you aze required to pay outstanding fees in the amount of$150 and mail payment to the following
address: 100 Vilaggio Newport Beach, CA 92660 or deliver up the possession ofthe same, or your
Landlord will institute legal proceedings for unlawful detainer against you to recover possession ofthe
premises, to declaze said Lease forfeited and recover attorneys fees and court costs.

YOU ARE FURTHER NOTIFIED that by this notice your Landlord elects to and does hereby declare a
forfeiture of said Lease if said covenants are not performed within the specified time.

Dated: 05/05/2015


                                      IRVINE COMPANY APARTMENT COMMUNITIES,INC.

                                      BY: Jennifer Gruwell


**This notice is being served concurrently with the Notice to Pay Rent or Surrender Possession curing payment of
amount demanded herein does not void or cancel the other notice**




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                         SIXTY (60)DAY NOTICE TO TERMINATE TENANCY
                                   (CC §1946 & 1946.1, Residential)


TO: Cheryl Lopez, Arthur Lopez
and DOES 1 to 10, all other tenants, subtenants, and occupants in possession of the premises commonly known
as:


SUBJECT PREMISES: 2087 Loggia
                  Newport Beach, CA 92660


PLEASE TAKE NOTICE THAT WITHIN SIXTY (60) DAYS after the service on you of this notice, you
are hereby required to quit, vacate, remove, surrender and deliver up possession of the above described
premises to the landlord. If you fail to quit possession of the premises within the sixty (60) days, the landlord
will institute legal proceedings against you to recover possession of said premises, recover holdover damages,
statutory and treble damages, the costs of suit, and reasonable attorney's fees.

'this notice is intended as a sixty (60) day legal notice for the purpose of terminating your tenancy pursuant to
 and in accordance with CC §1946 & 1946.1 and is given for the reason and .purpose of preventing any
 automatic renewal periods of the lease or rental agreement allowed thereunder or by virtue of law. The rent
 shall be due and payable to and including the date of termination of your tenancy under this notice.

You are hereby notified that a negative credit report reflecting on your credit record may be submitted to a
credit reporting agency if you fail to fulfill the terms of your credit/rental obligations.

Under California law, you have a right to request that the landlord/lessor or his/her/its authorized agent make an
initial inspection of the subject premises to determine its condition before you vacate, and you have the right to
be present during the inspection. The purpose of the inspection is to allow you an opportunity to remedy
                                                                                                                 an
identified deficiencies or damage to the subject premises, if any, caused by you. If you wish to have such
                                                                         representative as soon as possible. If you
inspection, please contact the landlord/lessor or his/her/its authorized
                                                                                                                 in
request an inspection, you will be given 48 hours' advance notice of the inspection, but you may waive
writing the required 48 hours' notice and have the inspection done sooner.

State law permits former tenants to reclaim abandoned personal property left at the former address of the tenant,
subject to certain conditions. You may or may not be able to reclaim property without incurring additional
costs, depending on the cost of storing the property and the length of time before it is reclaimed. In general,
these costs will be lower the sooner you contact your former landlord after being notified that property
belonging to you was left behind after you moved out.


          1
 Dated: _~i ~~( ~
                                                      Owner/Manager
                                                      Newport Bluffs Apartment Homes
                                                      100 Vilaggio
                                                      Newport Beach, CA 92660-9021
                                                     (949)467-2120


                                                                                 any real or personal
 PENAL CODE SECTION 594 reads: "Every person who maliciously injures or destroys
 property not his own ... is guilty of a misdemeanor."
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                                                              LEASE

  THIS LEASE("Lease") is made as of 11/14/2014 by and between Newport Bluffs LLC("Landlord"), and Cheryl Loaez,
  Arthur Lopez,("ResidenY'),If there are multiple signers for Resident, each shall be jointly and severally liable and are all
  collectively referred to as "Resident" herein.
  1. Premises:
      1.1. Location. The premises is located at 2087 Loggia, Newport Beach, CA 92660(the "Premises") in the Newport
  Bluffs Apartment Homes(the "Community"). The premises leased to Resident consist of a residential unit together with
  any appliances, window coverings, carpet and other furnishings listed on the move-in form, and the Garage and/or
  number of Pazking Spaces) listed in Section 5. Landlord may change Resident's designated Garage and/or Parking
  Spaces)from time to time.
       1.2. Condition. Resident has inspected the Premises and common areas and upon taking possession knows oftheir
  condition and the potential hazards they present, including, but not limited, to unsupervised children, including but not
  limited to lakes, streams, swimming pools, parking azeas, balconies, windows and recreation areas. Resident accepts the
  Premises acid common areas in their existing condition, and acknowledges that Landlord has made no representation or
  warranty of any nature regarding their condition or ofthe surrounding area where the Community is located. By
  Resident's signature on this Lease, Resident shall be deemed to acknowledge that Resident is satisfied as to all matters
  regarding the Premises and the Community.
  2. Term:
     2.1. Commencement. The term ofthe Lease commences~on 11/19/2014 and ends on O1/l8/2016 at 11:59 p.m (the
 "Term"). Landlord makes no representation that the Premises          e rea y~ooccu~~3lZ~on
                                                                                r             tF►~
                                                                                                 e cmo mencem enf3~~
 the Term. If Landlord is unable to deliver possession of the Premises at the commencement of the Term, Landlord shall
 not be liable for damages to Resident, but Resident shall not be responsible for payment of Rent for the period between
 the commencement of the Term and the time when Landlord delivers possession. If Landlord is not able to deliver
 possession within thirty (30) days of the commencement date of the Term, either Landlord or Resident may, prior to the
 time when Landlord delivers possession, cancel this Lease by giving written notice to the other. The Term of the Lease
 as set forth herein shall not be affected by the move-in date.
       2.2. Expiration. Upon expiration of the Term of this Lease, but not upon the earlier termination hereof, this Lease
  s}~ll continue as a tenancy from month to month unless either (i) Landlord gives Resident at least sixty (60) days written
  notice prior to the expiration of any Lease Term if the Resident has resided at the Premises for a year or longer or at least
  thirty (30) days written notice prior to the expiration of any Lease Term if the Resident has resided at the Premises for
  less than one year, that such month to month tenancy shall not commence, or (ii) Resident gives written notice to
  Landlord at least (30) days prior to expiration of the Term of Residents election that such month to month tenancy shall
  not commence. In the event this Lease shall continue as a tenancy from month to month the terms and conditions
  of the Lease shall apply with respect to such tenancy, except the Term shall be deemed modified to provide that
  the tenancy shall be from month to month, and Landlord may, at its option, increase the Rent to the monthly
  rental rate set forth in a written notification to Resident. Resident acknowledges that this section contains
  provisions under which this Lease may automatically continue as a tenancy from month to month upon the
  expiration of the Term.
        2.3. Surrender. Upon termination of the tenancy, Resident shall vacate the Premises, and any holding over by
   Resident or other co-Residents, Occupants, members of Resident's household, Residents family, guests, agents and
   others under Resident's control ("Resident's Related Parties") after such expiration date shall not constitute a renewal
   hereof or give Resident any rights with respect to the Premises. If Resident fails to so vacate and surrender the Premises
r rupon termination, Resident shall indemnify and hold Landlord harmless from any loss or liability, including without
   limitation any claims made by any succeeding resident, from failure to vacate the Premises. Upon vacating the Premises,
   Resident shall (a) deliver the Premises empty of all persons, (b) remove all of Resident's personal property from the
   Premises a~~d from all parking spaces and storage spaces provided under the Lease, (c) clean the Premises in accordance
   with the Rules and Move-Out Guidelines, and (d) provide Landlord with Resident's forwarding address.
  3. Rent:
  Paxment. Resident shall pay Landlord $ 2635.00 each month ("Rent") in advanc~y                   fore the first (1~) day of each
  caiendaz month during the "Perm (the "Rent llue Uate").    If Resident takes possession   of    'Premises   on any day other
  than the first day of a month, Resident shall pay the initial Rent payment   based on  a  30-day  proration  (except February,
  which shall be  prorated by the actual number  of days  in the month).  In addition, all other monetary   obligations  of


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Resident under this Lease (except the Security Deposit) shall be deemed to be additional rent. Any reference to the term
"Reny' in this Lease shall be deemed to ►nclude additional rent. Rent and all other charges due Landlord shall be
                                                                                                                    payable
only by cashier's check, personal check or money order made payable to name of the Community specified in Section
1.1, or by online payment. No personal checks will be accepted in response to a notice to pay rent or quit or a notice
                                                                                                                        to
perform covenant or quit requiring payment. Payment made by check or money order should be mailed to Newport
Bluffs Apartment Homes PO BOX 844776 Los Angeles, CA 90084-4776 or at such other place or in such other
                                                                                                                     manner
as Landlord may from time to time designate. Resident shall remit one check or money order for the Rent payable for
the Premises, and shall write Resident's Unit number on the check or money order. Any payments made by mail are
made at Resident's risk and must be received by Landlord by the ctue date. To make a payment online, go the
https://residents.irvinecompanvapartments.com webpa~e. Residents who wish to pay online will need to create a rent
pay account. Instructions about how to create a rentpay account and make online payments is available at
http://marketing.irvinecompany.com/apartment communities/resident/website/Create%20An%20Account pdf .
Payments must be made online or mailed to the specified address above. Payments wi[[ not be accepted at the
Community leasing office. At Landlord's option and without notice, Landlord may apply payments received first to any
of Resident's unpaid obligations, then to current rent, regardless of notations on checks or money orders and regardless
of when the obligations arose. As required by law, Resident is hereby notified that a negative credit report reflecting on
Resident's credit record may be submitted to a credit reporting agency if Resident fails to pay rent or other amounts
owing under this Lease on time.


    3.1. Late Fees. Resident acknowledges that if Resident pays Rent after the due date, Landlord will incur costs not
contemplated by this Lease, the exact amount of such costs being extremely difficult and impracticable to determine.
Such costs include, without limitation, processing and accounting charges. Therefore, if any installment of Rent due from
Resident is not received by Landlord when due, Resident shall pay to Landlord an additional sum of 50.00 as a late
charge. The parties agree that this late charge represents a fair and reasonable estimate of the costs that Landlord will
incur by reason of late payment by Resident. Landlord's acceptance of Resident's payment of any late chazge shall not
constitute a waiver by Landlord of Resident's default with respect to the overdue amount, nor prevent Landlord from
exercising any other rights and remedies available to Landlord.
     3.2. Returned Check. If Resident's personal check for Rent is not honored or is returned by Resident's financial
institution for any reason ("Returned Check"), Landlord will treat this situation as if Resident has not paid Rent for that
month. Resident shall be obligated to pay Landlord an additional fee of Twenty-five Dollars ($25.00) for any Returned
Check. Resident shall replace any Returned Check with a cashier's check or money order only. After receipt of two (2)
Returned Checks, Landlord shall thereafter accept only a cashier's check or money order for payment of Rent from
Resident.
 4. Security Deposit: At the time Resident signs this Lease, Resident shall also pay Landlord a security deposit in the
amount of $2635.00 ("Security Deposit") as security for the faithful performance of Resident's obligations under this
Lease. Landlord shall have the right to commingle the Security Deposit with other funds of Landlord. Landlord may, at
its option, deduct from the Security Deposit such amounts as are reasonably necessary (a) to remedy Resident's defaults
in the payment of Rent, utility charges or any other item for which Resident is responsible under the Lease, (b) to repair
damage (other than ordinary wear and tear) to the Premises caused by Resident and/or members of Resident's family,
guests, licensees, visitors or pets, including but not limited to stains in carpet, counter damage, drywall repair, painting,
drapes and plumbing system, (c) to clean the Premises upon termination of the tenancy, and/or (d) to cover the cost of
restoring, replacing or reclaiming any personal property provided to Resident (such as garage door remote control
devices, keys, and the like). The Security Deposit shall be refunded or applied as provided in California Civil Code
Section 1950.5. In the event Landlord uses any part of the Security Deposit during the tenancy, Resident shall replenish
the Security Deposit to its full amount within ten (10) days after Landlord's written notice to Resident of the deduction
and Landlord's demand that the Security Deposit be replenished in full.
5. Parking: Resident shall have the right to park 0 vehicles in the following parking spaces: Garage #418 (the "Parking
Space(s)" and/or "Garage"). Use of the Garage or Parking Spaces) for anything
Other than as specified in the Rules is prohibited.
6. Occupancy: Only the following people are permitted to live at the Premises (full name): Cheryl Lopez. Arthur
Lopez (the "Occupants"). Resident agrees to use and maintain the Premises solely as a private residence for the
Occupants and no other persons) except for guests in accordance with the Rules.

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 7. Utilities: Resident shall be responsible for paying all utility services provided to the Premises as follows:

      A. Electricity, Gas, Telephone, Cable Television and InternebHi~h Sneed Data. For each ofthese utilities that
     separately service the Premises, Resident shall be responsible for ordering and arranging for such utilities, as well as
     for satisfying any deposit or other requirements ofthe utility provider.
          i.        Electricity. Resident is responsible for(a)notifying the electric utility provider promptly after move-in
     to transfer electric service to Resident's name, and (b)paying for electric service directly to the utility provider. If
     Resident fails to so notify the utility provider ofthe transfer of service, Resident shall be billed by Landlord for the
     cost ofany electric service provided to the Premises. Additionally, Landlord may assess a fee not to exceed $25 for
     any NSF check.
          ii.      Gas, Telephone, Cable Television acid InternebHi~h Sneed Data. Resident acknowledges and agrees
     that(a)gas, telephone, cable television and internedhigh speed data utilities will not be available to the Premises on
     Resident's move-in date if Resident fails to arrange for service in advance, and (b)Resident shall pay for each of
     these utilities directly to the provider ofsuch service as billed by the provider.

      B. Water and Sewer. The Premises has been submetered and Resident shall pay for the services in the form of
     fixed and variable chazges, which will be determined based on the billing method ofthe applicable water district.
      Resident shall pay for the services in accordance with billings sent directly to Resident by a third party billing
      company. Resident acknowledges and agrees that the third party billing company may assess (i) a one-time account
     'set-up fee' of not to exceed $5 will be chazged by the billing company;(ii) a monthly billing fee not to exceed $5 for
      billing services and facility maintenance;(iii) a late charge not to exceed $5 per occurrence; and (iv)a fee not to
      exceed $25 for any NSF check.

     C. Trash. The cost of trash service will be allocated based upon the number of Occupants on the Lease as a
     percentage ofthe total number of occupants listed on all leases in the Community. Resident shall pay for trash
     service in accordance with billings sent directly to Resident by a third party billing company. The cost oftrash
     service will be either (i) included in the water and sewer service bill sent by the third part billing company as noted
     in Section B above, or (ii) billed separately by the third party billing company, in which event Resident will be
     charged aone-time account "set-up fee" not to exceed $5 and a monthly billing fee not to exceed $4 with each bill
     for tr~►sh service. Additionally, the third party billing company may assess a late charge not to exceed $5 per
     occurrence and a fee not to exceed $25 for any NSF check.

     D. Future Modifications. Landlord shall have the right at any time to change the method used to calculate any utility
     services allocated to the Premises, including but not limited to water and sewer service, upon at least thirty days'
     prior notice to Resident. In the event of such a change, Resident shall be responsible for paying all bills for utility
     usage amibuted to the Premises in accordance with the applicable calculation method so changed by Landlord.

     E. Failure to Pay. The cost of any water, sewer or trash service provided to the Premises that is billed by a third
     party billing company is considered additional rent that becomes due in the month immediately following the date of
     the billing to Resident. If Resident fails to pay any such bill by the due date, and the account becomes more than 120
     days delinquent, this may, at Landlord's election, constitute a default under the Lease.

     F. Estimated Billings for Submetered Utilities. Charges for submetered utilities may be estimated (i) while the
     submeter is broken or does not transmit a meter reading or (ii) when Landlord has not received bills from the
     applicable water district in time to prepare Resident's invoice for utilities charges on Resident's final statement of
     account. Resident agrees that it is reasonable to estimate utilities charges for submetered utilities in these
     circumstances, so long as Resident is reimbursed for any excess charges if the actual utility billings ultimately
     Show that Resident's usage or share was less than the amount of the "estimated" bill paid by Resident.

    G. Landlord Liability for Utili Interruptions. Landlord will not be liable for any interruption, outage or fluctuation
    of any utilities famished to the Premises or any damages or losses of any nature resulting from such utility
    interruption, outage or fluctuation, unless the loss or damage was the direct result of the willful misconduct or
    negligence of Landlord or its employees. Resident releases the Landlord and waives all claims against the Landlord
    for any loss or damage of any nature arising from or relating to such interruptions, outages or fluctuations, except to
    the extent the loss or damage was the direct result of the willful misconduct or negligence of Landlord or its
    employees.


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  8. Use of Premises: Resident agrees to use the Premises and all common areas in
                                                                                        accordance with, and to otherwise
  comply with, the Resident Policies, Rules and Regulations(the "Rules") established by
                                                                                           Landlord from time to time and
  incorporated herein by reference. Resident has reviewed a current copy ofthe Rules. Resident
                                                                                                  shall not, and shall make
 sure that Residents Related Parties shall not(a)disturb (including, but not limited to, loud or late
                                                                                                      parties, loud playing of
 stereos, musical instruments, etc.), interfere, annoy, endanger or inconvenience other residents of the
                                                                                                         Community,
 neighbors, Landlord, Landlord's property manager and the respective officers, directors,
                                                                                            members, managers, partners,
 shareholders, employees, affiliates, agents and representatives of both Landlord and property manager
                                                                                                          ("Landlord's
 Related Parties") or(b) violate any law, nor commit or permit waste or nuisance in or about the
                                                                                                   Premises or the
 Community or(c)permit pets on the Premises unless specifically authorized in writing by Landlord. Resident
                                                                                                                   shall not
 have any pets in the Premises at any time without entering into a Pet Addendum with Landlord.
      Residents shall be responsible for the supervision and control of Residents Related Parties while such persons are
 within the Premises or anywhere within the Community. Resident agrees to assume the risk of injury to Resident's
 Related Parties, and further agrees to hold Landlord and its agents harmless from any liability azising from the use of
                                                                                                                          the
 Premises, recreational facilities or common azeas by Resident's Related Parties. Without limiting any other indemnity
 contained herein, Resident agrees to fully defend and indemnify Landlord and its agents from any claim brought by or on
 behalf of Resident's Related Parties. Violation of Section 8, at Landlord's option, shall be deemed a noncurable breach
 ofthis Lease.
 9. Alterations and Improvements: Resident shall make no upgrades to, alterations of or improvements to the
 Premises without obtaining Landlord's prior written consent, including without limitation, painting, wallpapering,
 installing any other window covering, wall covering, permanent shelving and flooring, adding or changing any lock or
 locking device, bolt or latch on the Premises. In the event Landlord consents to any addition or change of lock, Resident
 shall provide Landlord with a key to any such lock or device upon installation thereof. If Landlord agrees to any such
 upgrade, alteration or improvement, Resident acknowledges and agrees that upon Landlord's request upon expiration of
 the tenancy, Resident shall, prior to vacating the Premises, remove such upgrade, alteration or improvement and restore
 the Premises to the condition in which it existed prior to the installation of such upgrade, alteration or improvement.
 Resident shall not, as a result of any upgrades, alterations or improvements installed by or on behalf of Resident, create
 or allow any mechanics or other lien to be placed on the Premises or the Community. Iffor any reason such lien is so
 created or placed, Resident shall, upon demand of Landlord, clear the same in a manner acceptable to Landlord and
 indemnify and save Landlord, the Premises and the Community free and harmless from any liability for any damage,
 claim, or loss arising therefrom.
 10. Damage and Repairs:
    10.1. Notice. Resident shall give Landlord immediate written notification if repairs to the Premises may be required.
If after receipt of such notice, Landlord's inspection indicates that such repairs aze needed, Landlord shall repair the
Premises and the cost of such repair shall be paid by Resident unless the Premises is "untenantable" as defined in
California Civil Code Section 1941.1 and such condition was not caused by Resident or Residents Related Parties.
    10.2. Damaee. Resident shall hold Landlord harmless from and shall pay on demand all reasonable costs of repair or
restoration resulting from (a) any damage to or destruction of the Premises, any appliances, window coverings, carpet or
other furnishings provided by Landlord, or(b)any portion of the Community resulting from any act or omission of
Resident and/or Resident's Related Parties (collectively,"Resident Damage"), including without limitation, damage or
destruction resulting from leaving windows open during rains or storms, flows of water from pipes, faucets or other
sources, failure to report the presence of bedbugs or other pest infestations, mold or mildew, failure to turn offgas or
electrical appliances or lights when not in use, and littering ofthe Premises or any portion ofthe Community.
    103.Insurable Events. In the event of damage to or destruction ofthe Premises or any portion ofthe Community by
fire, flood, earthquake, or any other cause or causes other than Resident Damage(each, an "Insurable Event"), Landlord
shall have the option to(A)treat this Lease as continuing and repair or restore the Premises to its condition before such
Insurable Event; or(B)elect not to repair the damage, in which event this Lease shall terminate as provided in
Landlord's written notice to Resident. After the occurrence of any Insurable Event,(a) Resident's obligation to pay Rent
hereunder shall be abated in an amount which Landlord, in its sole discretion, shall determine to be proportionate to the
area ofthe Premises rendered unfit for use by Resident during the period ofrepair or restoration; and (b)Resident's sole
remedy against Landlord shall be rent abatement, and Resident shall not be entitled to any other award of damages or
compensation from Landlord.
   10.4. Relocation. For any repairs that Landlord makes, Landlord shall have the right to cause Resident to vacate the
Premises upon reasonable notice from Landlord. Resident shall not be entitled to any compensation for vacating the



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   Premises provided Resident is temporarily or permanently
                                                            relocated to another residence in the Community, other
   comparable rental community owned by Landlord or its affiliate
                                                                  or hotel.
   11. Resident Insurance Requirements: Resident shall maintain at all
                                                                               times during the Term of this Lease, at Resident's
   sole expense, a standazd type oftenant's or Renter's Homeowners insurance
                                                                                    policy, or its equivalent, issued by a licensed
   insurance company. Such policy shall provide limits of liability of(i)
                                                                             $100,000 personal liability, and (ii) the greater of
  $10,000 or the full replacement value of Resident's personal property, or greater
                                                                                        amounts as may be needed as
   determined by Resident. If Resident elects to install a satellite dish as
                                                                             permitted by this Lease, Resident shall maintain
   public liability and property damage insurance with a single combined liability
                                                                                      limit of$100,000.00 and property
  damage limit of not less than $50,000.00 insuring against claims for bodily
                                                                                  injury, death or property damage occurring
   from the installation, maintenance, operation and/or removal ofthe satellite
                                                                                   dish. The policy shall name Landlord as an
  additional insured. Resident shall provide Landlord with proof ofsuch insurance
                                                                                        to Landlord's satisfaction before any
  satellite dish is installed. To the greatest extent allowed by law, Resident hereby
                                                                                       (a) releases Landlord and Landlord's
  Related Parties from any and all claims for damages or loss to Resident's personal
                                                                                          property (including any deductible
  and including loss caused by earthquake or other Insurable Event) and from any
                                                                                       and all claims for personal liability,
  damages or loss in, on or about the Premises that are caused by or result from risks that
                                                                                               aze or would be insured under
  Resident's insurance coverage, including, but not limited to, damage or loss caused by
                                                                                              fire, theft, rain, water overflows
  and leakage, and (b) waives any and all rights of recovery and rights ofsubrogation against
                                                                                                    Landlord and Landlord's
  Related Parties in connection with any damage, claim or loss that is or would be covered by
                                                                                                     Resident's insurance
  coverage.
  12. Landlord's Liability; Resident's Indemnity:
     12.I.Limitation on Liabiliri. To the greatest extent provided by law, Landlord and Landlord's
                                                                                                     Related Parties shall
 not be liable for any injury (including death) to any person caused by any use ofthe Premises
                                                                                                or the Community by
 Resident, Resident's Related Parties, or arising from any other cause whatsoever, nor shall Landlord
                                                                                                       or Landlord's
 Related parties be liable for any loss or damage to any personal properly belonging to Resident or located
                                                                                                            on the
 Premises, the Community or other facility under the control of Landlord. To the greatest extent allowed
                                                                                                          by law, Resident
 hereby agrees to hold Landlord and Landlord's Related Parties harmless from all liability for any such injury,
                                                                                                                loss or
 damage. To the extent allowed by law, Resident agrees to assume all risk of harm, and waive all claims
                                                                                                          against Landlord
 and Landlord's Related Parties, resulting from use ofcommon area amenities, even if caused by the negligence
                                                                                                                  of
 Landlord and Landlord's Related Parties. To the extent allowed by law, use ofthe common area amenities is the
                                                                                                                at    sole
 risk of Resident and Resident's Related Parties.
     12.2.Indemnity. Resident shall indemnify, defend and hold harmless Landlord and Landlord's Related Parties for any
 liability, damage, claims for personal injury and/or property damage, cost or expense (including reasonable attorneys'
fees), whether incurred by or made against Landlord or Landlord's Related Parties, caused by the negligent, willful or
 intentional act or omission of Resident, or Resident's Related Parties. Resident also agrees that Landlord shall not be
liable for matters (and this Lease shall not be terminated by any interruption or interference with services or
accommodations due Resident) caused by strike, riot, orders or acts of public authorities, acts of other residents,
accidents, interruption in or shortages of public utilities, the making of necessary repairs to the building of which the
Premises aze a part, or any other cause beyond Landlord's control. Resident shall also defend, indemnify and hold
Landlord and Landlord's Related Parties harmless from and against any claims, costs and liabilities, including attorneys
fees and costs, arising out of or in connection with (a)any storage, use and/or disposal of hazardous, toxic or radioactive
matter(b)any damage or injury resulting from Resident's negligent or improper installation, maintenance, operation or
removal of any satellite dish.
13. Assignment and Subletting: Resident shall not assign its interests under this Lease and shall not sublet all or any
part of the Premises, or allow any other person or entity other than the Occupants, or guests pursuant to Section 6, to
occupy or use all or any part ofthe Premises. Any attempted assignment, whether voluntary or involuntary, at Landlord's
election, shall constitute a default.
14. Defaults: The following shall constitute a material default and a breach ofthis Lease by Resident:
     A. Resident abandons or vacates the Premises prior to the end ofthe Term.
     B. Resident fails to make any payment of Rent or any other payment required to be made by Resident hereunder, as
     and when due, which failure continues for a period of three(3) days after written notice thereof from Landlord to
     Resident.
     C. Resident fails to comply with any provision ofthis Lease or to perform any of Resident's obligations under this
     Lease, including but not limited to compliance with the Rules, where such failure continues for more than three(3)

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       days after written notice thereof from Landlord to Resident. Ifthe
                                                                            breach is ofa nature that cannot be cured within
       such three(3) day period or is deemed a noncurable breach under this Lease (e.g.,
                                                                                             illegal activity, waste, nuisance,
       violation of Sections 8, 13 or 13.D, etc.), then at Landlord's option, this Lease shall
                                                                                               be terminated upon service of
       three days written notice to quit.
       D. Resident provides false information on the Application to Rent or Resident's credit
                                                                                               application or omits to
       disclose any information required by the Application to Rent or this Lease(such matter
                                                                                               shall be deemed to be a
       noncurable default at the time of Landlord's discovery that the information was false).
  15. Remedies: In the event of any default or breach by Resident, Landlord may at anytime
                                                                                              thereafter, with or without
  notice or demand, and without limiting Landlord in the exercise of any right or remedy that
                                                                                              Landlord may have by reason
  ofsuch default or breach:
       A. Terminate Residents right to possession ofthe Premises by any lawful means, in which
                                                                                                 case this Lease shall
       terminate and Resident shall immediately surrender possession ofthe Premises to Landlord.
      B. In the event ofsuch termination, Landlord may recover from Resident the amount provided
                                                                                                      in California Civi]
      Code Section 1951.2, including the worth at time of the award ofthe amount by which (i) the
                                                                                                   unpaid Rent owing
      from the date Resident vacates the Premises until the end ofthe Lease Term (including the balance
                                                                                                         of the Lease
      Term after the date ofjudgment)exceeds (ii) the amount ofsuch rental loss for the same period
                                                                                                     that Resident proves
      could be reasonably avoided.
      C. Pursue any other remedy now or hereafter available under the laws or judicial decisions ofthe state where
                                                                                                                      the
      Premises aze located. The expiration or termination ofthis Lease and/or the termination of Residents
                                                                                                             right to
      possession shall not relieve Resident from liability under any indemnity provisions ofthis Lease as to matters
      occurring or accruing during the Term or by reason of Residents occupancy ofthe Premises.
      D. No remedy or election under this Lease shall be deemed exclusive, but shall, wherever possible, be
                                                                                                            cumulative
      with all other remedies at law or in equity.
 16. Limitation of Actions and Claims: Any claim or action of any kind by Resident against Landlord or
                                                                                                                  Landlord's
 manager (including, but not limited to, any claims for wrongful eviction, breach ofthe covenant of quiet enjoyment,
 breach of the warranty of habitability, or violation of any rent control law)arising out of or related to this Lease shall
                                                                                                                            be
 barred or waived unless the action, suit, administrative hearing or other proceeding is commenced within one hundred
 eighty (180)days after the occurrence ofthe matter giving rise to the action or claim. This limitation shall also apply to
 claims that might otherwise be asserted as a "set off," credit, cross-complaint, or defense in such action or claim or in the
 context ofthe proceeding brought by either Landlord or Resident. If any legal action or proceeding is brought by either
 party to enforce any part ofthis Lease, the prevailing party shall recover, in addition to all other relief, reasonable
 attorneys' fees not to exceed $1,000, plus court costs.
17. Disclosures: Resident has received and reviewed a copy ofthe Community Disclosures as ofthe date ofthis Lease.
The Community Disclosures are incorporated into the Lease by this reference.
13. Detectors: The smoke and carbon monoxide detection alarrr►s in the Premises have been tested prior to Resident's
move-in to insure operational performance. Resident shall not disable the smoke or carbon monoxide detection alarms.
Resident is responsible for self-testing the smoke and carbon monoxide detectors on a monthly basis to insure their
proper operation, and for replacing batteries as required. If the smoke or carbon monoxide detection alarms are not
operational or Resident is unable to self-test the smoke or cazbon monoxide detection alarm, the Resident must notify
Landlord to arrange for inspection by Landlord's maintenance staff.
19. Right of Entry: After giving prior reasonable (not less than 24 hours) notice to Resident, Landlord may enter the
Premises during normal business hours, (a) to make necessary or agreed repairs, (b) to install decorations, or to make
alterations or improvements deemed necessary or desirable by Landlord, (c) to supply necessary or agreed services, (d) to
show the Premises to workers and contractors and to prospective purchasers, lenders or tenants, and/or (e) to make an
"initial move-out inspection" as described in the "Move-Out Guidelines". In addition, if a detached garage is included in
the Premises leased to Resident, Landlord may, after giving prior reasonable (not less than 24 hours) notice to Resident,
enter the Garage during business hours of the Community office to inspect the Garage for compliance with the terms of
this Lease and Rules. Landlord may enter the Premises ar~d/or any detached garage included within the Premises without
advance notice to Resident and at any time (i) in case of an emergency, (ii) when Resident has abandoned or surrendered
the Premises, and/or (iii) pursuant to court order or search warrant
20. Release of Information: Resident hereby grants Landlord the right to disclose information contained in Landlord's
lease files regarding Resident or this Lease during or following the Term as follows: (a) in connection with the filing of

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  negative credit report information as a result of
                                                    Resident's failure to pay for amounts owing
  subpoena, court order, applicable law or regulation                                            hereunder,(b) pursuant to
                                                       , or governmental request, or(c) where necessary
  accountants, attorneys or insurers in connection with Landlord'                                         for Landlord's
                                                                    s business operations. Nothing contained in this
  should be construed to create any expectation of privacy by                                                        Lease
                                                                Resident regarding information pertaining to Resident,
  Lease and/or information concerning Resident and/or the Lease                                                         the
                                                                     contained in Landlord's lease files.
  21. Notices, Demands, Requests And Service Of Process:
      A. All notices, demands and requests that may be or are required
                                                                       to be given pursuant to the provisions of this
  Lease may be served pursuant to California Code of Civil Procedure
                                                                     Section 1162. Any such notice shall be given as
  follows:
             i. If to Landlord, the Notice shall be sent to Brent Christianson (the
                                                                                    "Community Manager") at 100 Vilaggio
             Newport Beach, CA,92660-9021 or to such other person or to such other
                                                                                       address as Landlord may hereafter
             designate by written notice.
             ii. If to Resident, the Notice shall be given to Resident at the address
                                                                                      ofthe Premises specified in Section 1.]
             above.
     B. Service of process upon Landlord may be served as provided by law
                                                                                 upon Landlord's authorized agent at the
 following address or upon such other person or at such other address as Landlord
                                                                                     may designate by written notice: The
 Irvine Company, General Counsel Office, 550 Newport Center Drive, Newport Beach
                                                                                          CA 92660(949)720-2000.
     C. Landlord's requests and notices to any person comprising Resident constitute
                                                                                          notice to all persons comprising
 Resident and ail Occupants. Notices and requests ftom any person comprising Resident
                                                                                            or any Occupant(including
 notices of lease termination, repair requests and entry permissions) constitute notice from all
                                                                                                 persons comprising
 Resident.
 22. Survival: No indemnity in this Lease shall in any way limit any other indemnity contained
                                                                                                      in this Lease. Resident's
 obligations in Sections 2.2, 2.3, 4, 8, 9, 10, 11, 12.2, 15 and 15 shall survive the expiration and/or
                                                                                                        termination of this
 Lease.
 23. Time: Time is of the essence in this Lease.
 24. No Waiver: No failure by Landlord to enforce any term of this Lease shall be deemed to be a waiver
                                                                                                              of Landlord's
 right to enforce such provision on the same or any future occasion, nor shall Landlord's acceptance of a partial
                                                                                                                   payment
 of rent be deemed a waiver of Landlord's right to the full amount of rent. Landlord's acceptance of rent with
                                                                                                                  knowledge
 of any default by Resident shall not be deemed a waiver of such default, nor shall it limit Landlord's rights, including
 Landlord's rights to terminate the Lease, Landlord's rights under any notices served upon Resident, or Landlord's right
 to file and prosecute an unlawful detainer action.
 25. Interpretation: Headings at the beginning of each section are solely for the convenience of the parties and are not a
 part of and shall not be used to interpret this Lease. The singular form shall include the plural, and vice versa. In the
 event of any conflict between the terms and provisions of this Lease and applicable California law, California law shall
 control, unless waived herein. If any provision of this Lease, or its application to any person, place or circumstance, is
 held by an azbitrator or court of competentjurisdiction to be invalid, unenforceable, or void, such provision shall be
 enforced to the fullest extent permitted by law, and the remainder ofthis Lease and such provision(s), as applied to other
 persons, places and circumstances, shall remain in full force and effect.
26. Entire Agreement: This Lease, together with the Rules and Disclosures, constitutes the entire agreement between
Landlord and Resident. The parties consider each and every term, covenant and provision of this Lease to be material
and reasonable. This Lease supersedes any and all oral or written representations or agreements that may have been
made by either party prior to or on the date Landlord and Resident execute this Lease. Any modification to the terms of
this Lease must be in writing and signed by both Landlord and Resident to be effective and enforceable.




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   Resident understands that e tenancy will
                                            automatically continue on a month-to
   term specifi d i p a ra 2.1 bove,                                            -month basis at the end of the
                                      until terminated as allowed by law.


   RESIDENT•
                                                               LANDLORD:
   NAME:                                ATE:   (~   ~~ ~
   NAME:                                                       Newport Blur's LLC
                                         TE: 'I ~'

   NAME:                              DATE:                    By: The Irvine Company Aparhnent Communities, Inc.,
  NAME:                               DATE:                    a Delawaze corporation, its duly authorized agent

  NAME:                              DATE:

  NAME:                              DATE:                       By:
  NAME:                              DATE:




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